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 9

10                               UNITED STATES DISTRICT COURT

11                            NORTHERN DISTRICT OF CALIFORNIA

12                                           ______ DIVISION

13

14   POYNT CORPORATION,                                   Case No. _______________

15          Plaintiff,                                    COMPLAINT FOR DAMAGES AND
                                                          EQUITABLE RELIEF
16          v.
                                                          [REDACTED VERSION OF
17   INNOWI, INC.,                                        DOCUMENT SOUGHT TO BE
                                                          SEALED]
18          Defendant.
                                                          DEMAND FOR JURY TRIAL
19

20

21
            Plaintiff Poynt Corporation (“Poynt”), by and through its undersigned attorneys, brings
22
     this action against Innowi, Inc. (“Innowi”), and alleges as follows:
23
                                             I.      PARTIES
24
            1.      Plaintiff Poynt Corporation (“Poynt”) is a Delaware corporation with a principal
25
     place of business at 4151 Middlefield Rd., 2nd Floor, Palo Alto, California 94303.
26
            2.      Defendant Innowi, Inc. (“Innowi”) is a California corporation with a principal
27
     place of business at 3240 Scott Blvd., Santa Clara, California 95054.
28
                                                                        COMPLAINT FOR DAMAGES AND
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 1                                 II.      JURISDICTION AND VENUE
 2           3.      This Court has subject matter jurisdiction over Poynt’s claims pursuant to 28

 3   U.S.C. §§ 1331, and the trade secret laws of the United States, 18 U.S.C. §§ 1836 and 1839, et

 4   seq. The Court possesses supplemental jurisdiction over Poynt’s state law claims under 28

 5   U.S.C. § 1367(a) because Poynt’s federal and state law claims derive from a common nucleus of

 6   operative fact as set forth herein.

 7           4.      This Court has general personal jurisdiction over Innowi because Innowi has

 8   systematic and continuous contacts with the State of California such that California is its “home”

 9   jurisdiction. In particular, Innowi is incorporated in California, and has a principal place of

10   business in Santa Clara, California.

11           5.      This Court has specific personal jurisdiction over Innowi because, as explained

12   below, Poynt’s causes of action arise directly from Innowi’s activities in the State of California

13   and in this judicial district. In particular (a) the agreements protecting Poynt’s confidential

14   information and intellectual property were executed and violated in this district and (b) the trade

15   secrets at issue in this case were developed and misappropriated here.

16           6.      Venue for Innowi is appropriate in this district pursuant to 28 U.S.C. § 1391(b)(1)

17   and (2) because Innowi resides in this district and, as explained elsewhere herein, a substantial

18   part of the events and omissions giving rise to Poynt’s claims occurred in this judicial district.

19                                  III.    FACTUAL BACKGROUND
20           7.      Poynt sells industry-leading smart point-of-sale payment terminal products.

21   Poynt’s products include the Poynt Smart Terminal, which is the world’s first smart terminal.

22   The Poynt Smart Terminal creates an impeccable payments experience for merchants and

23   customers by combining the robust functionalities of a mobile computer with the security and

24   reliability of a traditional payment device. Poynt also produces the Poynt 5, a mobile, single-

25   screen, point-of-sale terminal solution that provides merchants with greater flexibility to bring the

26   terminal to the customer.

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28
                                                                         COMPLAINT FOR DAMAGES AND
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 1           8.     In addition to offering physical point-of-sale payment terminals, Poynt offers an
 2   array of software applications, available for use on Poynt’s devices, that are designed to help
 3   businesses better navigate and organize their sales and inventory activities.
 4           A.     The Development Agreements and Development Project
 5           9.     Poynt began developing its flagship product, the Poynt Smart Terminal, in October
 6   2013.
 7           10.    In or around March 2014, Poynt had progressed in developing the proprietary
 8   software that would serve as the operating system for Poynt’s payment platform, and had
 9   developed design requirements for the associated hardware.
10           11.    In March 2014, Poynt began negotiating with Whizz Systems, Inc. (“Whizz”) to
11   retain the services of a team of Whizz-affiliated developers at Innowi, Inc. (“Innowi”) to build the
12   hardware for Poynt’s payment terminal in conformity with Poynt’s design requirements.
13           12.    During negotiations, Whizz’s President, Muhammad Irfan, introduced Poynt to the
14   Innowi team led by Zia Hasnain, the founder and CEO of Innowi.
15           13.    To protect Poynt’s confidential information, Poynt and Whizz executed a Mutual
16   Non-Disclosure Agreement (“NDA”), a copy of which is attached as Exhibit A. Pursuant to the
17   NDA, each party’s confidential business and technical information was to be maintained in strict
18   confidence and could not be used for any purpose except for the business opportunity embodied
19   by the potential Poynt development project. Ex. A ¶ 2. The NDA also required a receiving party
20   to return the disclosing party’s confidential information at the disclosing party’s request and to
21   provide the disclosing party with an officer’s certificate certifying compliance. Ex. A ¶ 4.
22           14.    By June 2014, Poynt and Whizz/Innowi had reached a confidential agreement (the
23   “Development Agreement”) in which Whizz/Innowi agreed to develop the hardware for a
24   payment terminal product meeting Poynt’s regulatory, certification, cost and design requirements
25   (the “Development Project”), a copy of which will be filed under seal as Exhibit B. The
26   Development Agreement required that Whizz/Innowi achieve pilot production for the product by
27   December 2014 and provided that Poynt would own any and all intellectual property associated
28   with or otherwise derived as a result of the project.
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 1          15.       The Development Agreement assigned Zia Hasnain as the Project Lead in charge
 2   of developing the hardware for Poynt’s payment terminal and required Innowi to commit its “A”
 3   team to the project on a full time and exclusive basis. On or around June 2, 2014, Zia Hasnain
 4   signed the Development Agreement on behalf of Whizz and handwrote in the signature block to
 5   indicate that he was also signing the Development Agreement on behalf of Innowi.
 6          16.       Following the execution of the Development Agreement, the entire Innowi team
 7   worked full time on Poynt’s project. The team included Zia Hasnain, Vijaykumar Santhakumar,
 8   Asif Rao, Faisal Saeed, and Chris Woon.
 9          17.       At the time the parties entered into the Development Agreement, Innowi publicly
10   emphasized that its core team’s prior experience related primarily to mobile and wireless
11   telecommunications products and that it had general experience in consumer electronics, wireless
12   communication, medical technology, and automotive product development. See
13   https://web.archive.org/web/20141217125302/http://innowi.com/. Innowi’s web site did not
14   suggest that it had any prior experience with payment terminal products.
15          18.       And when Poynt started working with Innowi, Poynt’s team found that the Innowi
16   team was neither knowledgeable about nor experienced in numerous important payment
17   technologies such as card readers, EMV chips, and payment processing. Poynt also found that
18   the Innowi team lacked expertise with near field communication (“NFC”) technology and with
19   the governing industry standards—including the Payment Card Industry Data Security Standard
20   (“PCI DSS”), Payment Card Industry PIN Transaction Security (“PCI PTS”) and EMV
21   standard—and lacked knowledge of how to navigate the design constraints those standards
22   imposed.
23          19.       During the Development Agreement project, Poynt disclosed and Innowi obtained
24   access to Poynt’s source code repositories, internal development information repositories and
25   industry expertise. Indeed, over the course of the Development Project, Innowi had access to an
26   enormous amount of Poynt’s confidential technical and business information, including:
27                   the assembly bill of materials and component data sheets for Poynt’s terminals;
28                   Poynt’s product requirement documentation;
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 1                   proposed, in-development and final design files including those showing
 2                    mechanical design (including 3D mechanical designs), schematics, and printed
 3                    circuit board designs;
 4                   source code and source code design for Poynt’s proprietary terminal operating
 5                    system, including kernel and boot-loader code;
 6                   source code and source code design for firmware, drivers and APIs;
 7                   lists of open issues regarding the development of the Poynt terminal;
 8                   lists and contact information for Poynt’s suppliers, vendors and other service
 9                    providers; and
10                   the hardware designs, work product, design dead ends and other non-public
11                    information that Innowi created while performing its work under the Development
12                    Agreement.
13          20.       It is a well-known and universally accepted principle of the design manufacturer
14   contracting industry that contractors will not use or disclose a client’s confidential information
15   and that the client will own all of the intellectual property derived from the client’s development
16   project. This principle is fundamental to the industry because – without it – clients would not
17   trust contractors with their business plans and technology. Poynt and Whizz/Innowi were both
18   well aware of this custom and practice and both demonstrated their understanding of its
19   applicability during the Development Project. For example, the work product that Innowi
20   provided to Poynt frequently included confidentiality markings designating the material
21   “proprietary and confidential.”
22          21.       In addition to requiring confidentiality prior to sharing its information, Poynt takes
23   many other measures to protect its confidential technical and business information. Poynt’s
24   building can and at all relevant times could only be entered with a badge, and Poynt’s offices
25   within that building cannot and could not be entered without an individually-assigned PIN code.
26   Poynt has and does monitor the site with video cameras. Poynt’s computers are and were
27   protected by a network firewall and cannot and could not be accessed without entering an
28   individual-assigned login. Poynt’s source code and development repositories cannot and could
                                                                          COMPLAINT FOR DAMAGES AND
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 1   not be accessed without submitting two-factor authentication. And access to such sensitive data
 2   is limited to only engineers and necessary contractors operating under non-disclosure agreements.
 3          22.     Poynt’s employees are also required to abide by detailed Security & Information
 4   Technology Policies and Procedures. Because Poynt’s products handle cardholder information,
 5   compliance with these security requirements is necessary to Poynt’s Payment Card Industry
 6   (“PCI”) certification. Poynt’s robust security policies include measures that, for example, require
 7   that cabinets and storage rooms remain locked after hours, that computers be configured with a
 8   password protected screen saver, that no personal computers access the Poynt wireless network,
 9   that sensitive information be encrypted when transmitted over the internet, and several other such
10   policies. Compliance with these policies is regularly audited, and failure to comply results in
11   discipline, potentially including termination.
12          B.      Innowi Breaches the Agreements and Misappropriates Poynt’s Trade Secrets
13          23.     During the Development Agreement project, Poynt paid Innowi over $700,000.
14   After Innowi missed or pushed back multiple deadlines, the prototype Innowi submitted to Poynt
15   was very unstable. Further, Innowi communicated to Poynt that it would be unable to meet the
16   Development Agreement’s cost requirements, instead asserting that the manufacturing cost of the
17   payment terminal hardware would be more than five times as expensive as the parties had agreed.
18          24.     As a result of Innowi’s failures, in December 2014, Poynt exercised its right to
19   terminate the Development Agreement and transitioned the payment terminal design
20   manufacturing project to another contractor. To facilitate the separation, Poynt sent Innowi a list
21   of outstanding tasks, and a proposed termination agreement. This proposed termination
22   agreement contained quit-claim provisions assigning to Poynt all intellectual property related to
23   the Development Project, as required by the Development Agreement. Poynt also demanded that
24   all Poynt property be returned and that all Poynt confidential information be returned or
25   destroyed. A copy of the draft termination agreement will be filed under seal as Exhibit C.
26          25.     The process of terminating the relationship between Poynt and Innowi dragged
27   into 2015. Innowi refused to execute the proposed agreement. Instead, Innowi sent Poynt a new
28   proposal that included a provision stating, in contradiction to the Development Agreement, that
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 1   Innowi would own “any know-how” relating to the Development Project. But Innowi’s draft
 2   acknowledged that “Innowi assumes full responsibility for Whizz’s compliance with the
 3   [Development Agreement] and its confidentiality obligations to Poynt.” A copy of Innowi’s draft
 4   agreement will be filed under seal as Exhibit D. Ultimately, no agreement was reached.
 5          26.     Following termination of the Development Agreement, Innowi represented that it
 6   was continuing to conduct business as a design manufacturing contractor. Indeed, Innowi’s
 7   public website continued to advertise its services as a design manufacturing contractor until as
 8   late as February 2016.
 9          27.     But, unbeknownst to Poynt, Innowi had begun transitioning from a general design
10   contractor focused on mobile and wireless device development for third parties to a point-of-sale
11   payment terminal provider intent on directly competing with Poynt. As the evidence is likely to
12   show after a reasonable opportunity for further investigation or discovery, this transition was
13   facilitated by Innowi’s improper use of Poynt’s confidential trade secrets retained by Innowi
14   following the termination of the agreement and, over the next four years, Innowi impermissibly
15   used Poynt’s confidential information to develop a competing product.
16          28.     On September 9, 2015, only nine months after Poynt terminated its project with
17   Innowi, Innowi founders Faisal Saeed, Zia Hasnain, and Asif Rao, each of whom had access to
18   Poynt’s confidential information and participated extensively in the development of Poynt’s
19   product under the Development Agreement, filed U.S. Patent Application No. 14/850/943, titled
20   “Smart Integrated Point of Sale System.” The Innowi application discloses details about the
21   design of Poynt’s smart terminal device. Specifically, the application discloses a smart payment
22   terminal device that contains a secure processor utilized to process cardholder data and other
23   sensitive payment information, and a separate main processor used to run the applications
24   available on the smart terminal device. This patent application is derived from Innowi’s work on
25   Poynt’s Development Project and reflects inventions conceived by Poynt’s own employees rather
26   than by Innowi’s employees. Worse, illustrating Innowi’s bad faith, Innowi did not disclose to
27   the U.S. Patent Office any information about Poynt’s own utility patents, Mr. Bedier’s patents, or
28   Poynt’s product, despite its legal duty to disclose all prior art of which it was aware.
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 1          29.     In 2017, Innowi filed two additional patent applications, U.S. Patent Application
 2   Nos. 15/618,122 and 15/721/923. Like the ’943 application, the allowed claims of the ’122
 3   application recite material derived from Innowi’s work on Poynt’s Development Project. The
 4   ’923 application is not yet published but relates to the same subject matter and, as the evidence is
 5   likely to show after a reasonable opportunity for further investigation or discovery, also covers
 6   material derived from Innowi’s work on Poynt’s Development Project.
 7          30.     Innowi never informed Poynt of its patent applications, despite the fact that the
 8   Development Agreement expressly states that all intellectual property derived as a result of
 9   Innowi’s work developing Poynt’s payment terminal is owned by Poynt.
10          31.     In or around May 2016, Poynt had learned from a customer that Innowi had told a
11   customer that Innowi was developing its own point-of-service payment terminal product. Innowi
12   also falsely told the customer that Innowi had designed Poynt’s payment terminal product.
13          32.     On or around July 20, 2016, Poynt’s outside counsel sent a letter to Zia Hasnain at
14   Innowi. The letter explained, among other things, that Innowi is under a legal obligation to not
15   use or disclose Poynt’s confidential information, particularly to obtain a competitive advantage
16   over Poynt. The letter further requested that Innowi confirm that it had not used or disclosed
17   Poynt’s confidential information for any purpose. A true and correct copy of this letter is
18   attached hereto as Exhibit E.
19          33.     On or around August 8, 2016, Innowi’s outside counsel responded to Poynt’s letter
20   and represented that “Innowi is not using or disclosing any of Poynt’s confidential information or
21   any materials based on or derived from Poynt’s confidential information” and that “Innowi is not
22   using or disclosing any confidential, proprietary, or trade secret information of Poynt developed
23   under the [Development] Agreement.” A true and correct copy of this letter is attached hereto as
24   Exhibit F.
25          34.     Innowi has since announced that it intends to release a competing payment
26   terminal product called the “ChecOut M.”
27          35.     Innowi had extensive access to Poynt’s trade secret information. Zia Hasnain,
28   Asif Rao, Faisal Saeed each had access to Poynt’s confidential information and participated
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 1   extensively in the development of Poynt’s product under the Development Agreement. Each of
 2   these individuals continue to serve in executive positions at Innowi. The evidence is likely to
 3   show after a reasonable opportunity for further investigation or discovery that Messrs. Hasnain,
 4   Rao and Saeed were executives at Innowi at all relevant periods during the company’s
 5   development of the ChecOut M product and the company’s transition from contract manufacturer
 6   to point-of-sale payment terminal producer.
 7          36.     The evidence is also likely to show after a reasonable opportunity for further
 8   investigation or discovery that Innowi improperly used Poynt’s confidential information related to
 9   the Development Project to advance its own development of a competing product. Indeed, even a
10   simple comparison of the two companies’ development timelines strongly suggests that Innowi
11   has made use of Poynt’s confidential information. Poynt was founded in 2013 by Osama Bedier,
12   a payment technology veteran who led Google Wallet and payments division at PayPal. Much of
13   Mr. Bedier’s team at Poynt has similarly specialized experience in engineering, product
14   development and the financial technology industry. But even with Poynt’s specialized team and
15   singular focus, it took them a little over 1 year to develop a prototype for the Poynt Smart
16   Terminal.
17          37.     By contrast, the Innowi team is significantly smaller and (prior to the Development
18   Project) had no significant experience in the financial technology field generally or with the
19   payments industry specifically. Nor was Innowi familiar with the exacting industry standards or
20   the techniques required to create a commercially viable product that could be certified under
21   those standards. Despite these severe disadvantages, the Innowi team produced a working
22   specimen of its product only, at most, 8 months slower than Poynt, and that assumes the Innowi
23   team worked diligently towards their prototype as soon as Poynt terminated the Development
24   Agreement. The evidence is likely to show after a reasonable opportunity for further
25   investigation or discovery that Innowi could not have developed its product so quickly without
26   misappropriating Poynt’s trade secrets or breaching the Development Agreement.
27          38.     Innowi’s use of Poynt’s intellectual property has given Innowi a head start in
28   developing a product that will reach the market alongside Poynt’s products and which are
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 1   designed to compete directly with Poynt’s products. Innowi’s unfair head start has been harmful
 2   to Poynt including through the loss of market share. As a result of Innowi’s breaches of its
 3   agreements with Poynt and Innowi’s misappropriation of Poynt’s trade secrets, Poynt is now
 4   being forced to compete against a product unfairly developed with the benefit of Poynt’s
 5   investments in its own trade secrets.
 6                  First Cause of Action – Breach of the Non-Disclosure Agreement
 7          39.     Poynt realleges and incorporates by reference Paragraphs 1 through 38, inclusive,
 8   of this Complaint, as though fully set forth herein.
 9          40.     In March 2014, Poynt and Whizz executed a Mutual Non-Disclosure Agreement
10   (“NDA”), a copy of which is attached as Exhibit A. The NDA was willingly agreed to by both
11   parties without duress or undue influence and is valid and enforceable.
12          41.     Pursuant to the NDA, each party’s confidential business and technical information
13   was to be maintained in strict confidence for a period of at least 5 years, and not used for any
14   purpose except for the mutual business opportunity. Ex. A ¶ 2.
15          42.      The NDA provides that “Upon the disclosing party’s request, the receiving party
16   will promptly return to the disclosing party all tangible items and embodiments containing or
17   consisting of the disclosing party’s Confidential Information and all copies thereof (including
18   electronic copies) and provide the disclosing party with a written officer’s certificate certifying
19   the receiving party’s compliance with the foregoing obligation.” Ex. A ¶ 4.
20          43.     The NDA further provides that “Each party acknowledges that the unauthorized
21   use or disclosure of the disclosing party’s Confidential Information would cause the disclosing
22   party to incur irreparable harm and significant damages, the degree of which may be difficult to
23   ascertain. Accordingly, each party agrees that the disclosing party will have the right to obtain
24   immediate equitable relief to enjoin any unauthorized use or disclosure of its Confidential
25   Information, in addition to any other rights and remedies that it may have at law or otherwise.”
26   Ex. A ¶ 7.
27          44.     The NDA remains in effect and shall not terminate until five years after the date of
28   the last disclosure of confidential information by either party. Ex. A ¶ 9.
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 1          45.     During negotiation of the NDA, Whizz indicated that the team that would be
 2   working on Poynt’s Development Project would be affiliated with Whizz. The founders of
 3   Innowi also made numerous representations indicating that they were affiliated with Whizz,
 4   including by using Whizz email addresses and using Whizz branding on their documents. As the
 5   evidence is likely to show after a reasonable opportunity for further investigation or discovery
 6   Innowi is an alter ego to Whizz under the NDA, is not entitled to separate legal status under the
 7   NDA and is obligated by the provisions of the NDA.
 8          46.     Alternatively, as the evidence is likely to show after a reasonable opportunity for
 9   further investigation or discovery, Whizz expressly or impliedly assigned its rights and
10   obligations under the NDA to Innowi and Innowi assumed all rights and obligations under the
11   NDA from Whizz.
12          47.     Poynt performed its obligations under the NDA, including but not limited to
13   maintaining Whizz’s and Innowi’s confidential information, or was excused from performance of
14   certain obligations by reason of Whizz and Innowi’s breach.
15          48.     During the business opportunity, Poynt disclosed to Whizz and Innowi numerous
16   pieces of Poynt’s confidential information including, at minimum, Poynt’s design requirement
17   documentation, operating system source code, and lists of Poynt’s development-related suppliers
18   and vendors. Innowi also developed confidential information for Poynt as part of the
19   Development project including, for example, hardware schematics.
20          49.     While Innowi’s obligations were in full force and effect, Innowi breached the
21   NDA by, as the evidence is likely to show after a reasonable opportunity for further investigation
22   or discovery, using Poynt’s confidential information for improper purposes unrelated to the
23   business opportunity, including for the purposes of obtaining a patent and developing a
24   competing product and business.
25          50.     As a result of Innowi’s breaches, the security and confidentiality of Poynt’s
26   confidential information has been compromised and Poynt has been put in the position of
27   competing with a business whose product was developed with unfair advantages resulting from
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 1   Innowi’s improper use of and reliance on Poynt’s investment in its own confidential and propriety
 2   information, causing Poynt to suffer damages in an amount to be determined at trial.
 3          51.     As expressly agreed in the NDA, the unauthorized use and disclosure of Poynt’s
 4   confidential information has and will continue to cause Poynt to suffer irreparable harm. This
 5   irreparable harm includes loss of secrecy. Further, if Poynt’s merchants elect to install Innowi’s
 6   product rather than Poynt’s, economic and time costs make it unlikely that the merchant will
 7   replace its payment terminal infrastructure, leading to irreparable harm through the lasting
 8   deprivation to Poynt of valuable business opportunities and market share. These lost
 9   opportunities may further cause irreparable harm by limiting Poynt’s exposure in the industry and
10   thus stifling the momentum of the industry’s adoption of Poynt’s products and software platform.
11   Poynt is accordingly entitled to injunctive relief barring Innowi’s unauthorized use of Poynt’s
12   confidential information. Ex. A ¶ 7.
13                  Second Cause of Action – Breach of the Development Agreement
14          52.     Poynt hereby realleges and incorporates by reference Paragraphs 1 through 51,
15   inclusive, of this Complaint, as though fully set forth herein.
16          53.     On June 2, 2015, Poynt and Innowi executed the Development Agreement. The
17   Development Agreement was willingly agreed to by the parties without duress or undue influence
18   and is valid and enforceable. The Development Agreement is a writing signed by both Innowi
19   and Poynt. The Development Agreement was reasonable and supported by adequate
20   consideration in that Poynt promisesd to pay Innowi for its services and Innowi promised, among
21   other things, to provide those services. Both Poynt and Innowi also had mutuality of remedies
22   under the contract to enforce these promises, as Poynt owed Innowi obligations including
23   obligations to pay Innowi, to continue to use Innowi as primary manufacturer, and to support
24   Innowi’s work with relevant subject matter experts.
25          54.     The Development Agreement provided that Poynt was to own all intellectual
26   property associated with and derived as a result of the Development Agreement project. This
27   unqualified provision is sufficiently definite so as to permit a court to know that an attempt to
28
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 1   claim ownership of such intellectual property would constitute a breach that could be enforced
 2   through equity.
 3            55.   Poynt performed its obligations under the Development Agreement, including by
 4   paying over $700,000 to Innowi for services, materials, and parts, or was excused from
 5   performance of certain obligations by reason of Innowi’s breaches (including its failure to timely
 6   deliver and/or to meet the cost targets in the agreement).
 7            56.   While Innowi’s obligations were in full force and effect, Innowi breached the
 8   Development Agreement by submitting several U.S. patent applications on alleged inventions that
 9   properly are owned by Poynt under the Development Agreement. As the evidence is likely to
10   show after a reasonable opportunity for further investigation or discovery, the alleged invention
11   disclosed and claimed in this patent application was derived as a result of the Development
12   Agreement project, which had only ended nine months before the first patent application was
13   submitted. Innowi further breached by making use of trade secrets that contractually belong to
14   Poynt.
15            57.   As a result of Innowi’s breach, Poynt has been deprived of its rightful intellectual
16   property rights and parts of Poynt’s confidential information has been disclosed, causing Poynt to
17   suffer damages in an amount to be determined at trial.
18            58.   Should Innowi be issued patents that are based on Poynt’s product development
19   and contractually owed to Poynt, Poynt will be irreparably harmed by the loss of exclusive rights
20   in its properly owned intellectual property, and by being forced to compete against a company
21   that claims exclusive rights in Poynt’s products and/or limits Poynt’s ability to expand the
22   features and functionalities of its products. Poynt is therefore entitled to equitable relief
23   preventing Innowi from retaining ownership of intellectual property rights that it promised to
24   Poynt and further mandating the assignment of Innowi’s U.S. patent applications to Poynt. Such
25   an order of specific performance is substantially similar to the promise Innowi already made in
26   the Development agreement acknowledging that Poynt was to own all intellectual property
27   derived from the Development Project.
28
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 1    Third Cause of Action – Misappropriation of Trade Secrets Under the California Uniform
                                       Trade Secrets Act
 2
            59.     Poynt hereby realleges and incorporates by reference Paragraphs 1 through 58,
 3
     inclusive, of this Complaint, as though fully set forth herein.
 4
            60.     Poynt invested substantial resources in developing design documentations for its
 5
     developing product, including assembly bills of materials, component data sheets, mechanical
 6
     design files (including 3D designs), schematics, and printed circuit board designs. Poynt likewise
 7
     invested substantial resources in developing the source code for its proprietary operating system,
 8
     including kernel and bootloader code, drivers, and APIs. Poynt also maintained and protected
 9
     lists of information crucial to the development and eventual success of Poynt’s product, including
10
     lists of open development issues and lists of suppliers and vendors used to source components,
11
     parts and other services necessary for Poynt’s product development.
12
            61.     Because the above-discussed confidential information is crucial to the success of
13
     its business, Poynt makes substantial efforts to keep this confidential information from its
14
     competitors and the public.
15
            62.     Poynt has, at all relevant times, taken reasonable efforts to maintain the secrecy of
16
     this confidential information, including by imposing individualized PIN-based access to its
17
     facilities, requiring two-factor authentication on its development-related repositories, requiring its
18
     employees comply with strict, industry-mandated security policies, and ensuring its vendors and
19
     contractors working with sensitive information agree to protect Poynt’s confidential information.
20
            63.     The efforts that Poynt takes are reasonable under the circumstances to maintain the
21
     information’s secrecy. Poynt takes these measures to ensure the confidentiality of this
22
     information because this information derives independent economic value because it is not
23
     generally known to the public or to other persons who can obtain economic value from its
24
     disclosure or use. Poynt’s competitors would obtain economic value from the use and disclosure
25
     of this information including by, for example, obtaining a “head start” as compared to the process
26
     of developing and supporting a payment terminal product and business without the improper use
27
28
                                                                         COMPLAINT FOR DAMAGES AND
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 1   of this information. Accordingly, the above-described information constitutes “trade secrets”
 2   under California’s Uniform Trade Secrets Act, Cal. Civ. Code §§ 3426, et seq.
 3          64.     As a design manufacturing contractor involved in the development of hardware for
 4   the Poynt Smart Terminal device, Innowi acquired knowledge and custody of several of Poynt’s
 5   trade secrets and developed trade secrets (both positive and negative) that belonged to Poynt
 6   under the terms of the Development Agreement.
 7          65.     Innowi was contractually obligated to maintain the secrecy of those trade secrets
 8   and to limit their use pursuant to the NDA. Innowi further knew or had reason to know that its
 9   knowledge of Poynt’s trade secrets was acquired under circumstances giving rise to a duty to
10   maintain the secrecy of those trade secrets or limit their use – including because (a) the NDA
11   expressly said that Poynt’s confidential and trade secret information would be protected; (b) the
12   Development Agreement is expressly labeled as Confidential; (c) the Development Agreement
13   expressly says that Poynt owns all “Intellectual Property” associated with the Development
14   Project, which includes trade secrets and therefore requires maintaining their confidentiality; (d) it
15   is understood in the contract development business that was Innowi’s main business that a client’s
16   information is and must be protected (e) during the course of performance of the Development
17   Project both sides acted in conformity with their agreement and understanding that Poynt’s
18   confidential information and intellectual property would be protected; and (f) even following the
19   termination of the Development Agreement, Innowi recognized its obligation not to use or
20   disclose Poynt’s information in its response to Poynt’s demand letter and in its draft termination
21   agreement.
22          66.     Innowi misappropriated Poynt’s trade secrets by improperly using Poynt’s trade
23   secrets to develop and market a competing product and by disclosing Poynt’s trade secrets to
24   others without authorization.
25          67.     The actions of Innowi constitute misappropriation of Poynt’s trade secrets under
26   Cal. Civ. Code §§ 3426, et seq.
27          68.     Because Innowi knew of Poynt’s ownership of trade secrets and nonetheless acted
28   in knowing disregard of those rights by making unauthorized use of Poynt’s trade secrets to
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 1   develop a competing product, Innowi’s acts of misappropriation were done willfully and
 2   maliciously, thereby entitling Poynt to attorneys’ fees and exemplary damages to be proved at
 3   trial pursuant to Cal. Civ. Code §§ 3426.4, 3426.3(c).
 4          69.     As a direct and proximate cause of Innowi’s misappropriation of Poynt’s trade
 5   secrets, the evidence is likely to show after a reasonable opportunity for further investigation and
 6   discovery that Innowi has been unjustly enriched at least by the amount(s) Innowi has received
 7   for pre-orders, has obtained a substantial head start, and Poynt has sustained damages in an
 8   amount to be proven at trial. Poynt has also suffered irreparable harm as a result of Innowi’s
 9   activities and will continue to suffer irreparable injury that cannot be adequately remedied at law
10   unless Innowi and all other persons acting in concert with it are enjoined from engaging in any
11   further such acts of misappropriation. This irreparable harm includes loss of secrecy, the loss of
12   market share, and the loss or impairment of business opportunities. Indeed, if Poynt’s actual and
13   potential merchant customers elect to install Innowi’s product rather than Poynt’s, economic and
14   time costs make it unlikely that a customer will replace its payment terminal infrastructure,
15   leading to irreparable harm through the lasting deprivation to Poynt of valuable business
16   opportunities and market share. Because Poynt’s products are still new to the market, these lost
17   opportunities may further cause irreparable harm by limiting Poynt’s exposure in the industry and
18   thus stifling the momentum of the industry’s adoption of Poynt’s products and software platform.
19         Fourth Cause of Action – Misappropriation of Trade Secrets Under Federal Law
20          70.     Poynt hereby realleges and incorporates by reference Paragraphs 1 through 69,
21   inclusive, of this Complaint, as though fully set forth herein.
22          71.     Poynt invested substantial resources in developing design documentations for its
23   developing product, including assembly bills of materials, component data sheets, mechanical
24   design files (including 3D designs), schematics, and printed circuit board designs. Poynt likewise
25   invested substantial resources in developing the source code for its proprietary operating system,
26   including kernel and bootloader code, drivers, and APIs. Poynt also maintained and protected
27   lists of information crucial to the development and eventual success of Poynt’s product, including
28
                                                                        COMPLAINT FOR DAMAGES AND
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 1   lists of open development issues and lists of suppliers and vendors used to source components,
 2   parts and other services necessary for Poynt’s product development.
 3          72.     Because the above-discussed confidential information is crucial to the success of
 4   its business, Poynt makes substantial efforts to keep this confidential information from its
 5   competitors and the public.
 6          73.     Poynt has, at all relevant times, taken reasonable efforts to maintain the secrecy of
 7   this confidential information, including by imposing individualized PIN-based access to its
 8   facilities, requiring two-factor authentication on its development-related repositories, requiring its
 9   employees comply with strict, industry-mandated security policies, and ensuring its vendors and
10   contractors working with sensitive information agree to protect Poynt’s confidential information.
11          74.     The efforts that Poynt takes are reasonable under the circumstances to maintain the
12   secrecy of the information. Poynt takes these measures to ensure the confidentiality of this
13   information because this information derives independent economic value because it is not
14   generally known to the public or to other persons who can obtain economic value from its
15   disclosure or use. Poynt’s competitors would obtain economic value from the use and disclosure
16   of this information including by, for example obtaining a “head start” as compared to the process
17   of developing and supporting a payment terminal product and business without the improper use
18   of this information. Accordingly, the above-described information constitutes “trade secrets”
19   under the Defend Trade Secrets Act, 18 U.S.C. §§ 1836, et seq.
20          75.     As a design manufacturing contractor involved in the development of hardware for
21   the Poynt Smart Terminal device, Innowi acquired knowledge and custody of several of Poynt’s
22   trade secrets and developed trade secrets (both positive and negative) that belonged to Poynt
23   under the terms of the Development Agreement.
24          76.     Innowi was contractually obligated to maintain the secrecy of those trade secrets
25   and to limit their use pursuant to the NDA. Innowi further knew or had reason to know that its
26   knowledge of Poynt’s trade secrets was acquired under circumstances giving rise to a duty to
27   maintain the secrecy of those trade secrets or limit their use – including because (a) the NDA
28   expressly said that Poynt’s confidential and trade secret information would be protected; (b) the
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 1   Development Agreement is expressly labeled as Confidential; (c) the Development Agreement
 2   expressly says that Poynt owns all “Intellectual Property” associated with the Development
 3   Project, which includes trade secrets and therefore requires maintaining their confidentiality; (d) it
 4   is understood in the contract development business that was Innowi’s main business that a client’s
 5   information is and must be protected (e) during the course of performance of the Development
 6   Project both sides acted in conformity with their agreement and understanding that Poynt’s
 7   confidential information and intellectual property would be protected; and (f) even following the
 8   termination of the Development Agreement, Innowi recognized its obligation not to use or
 9   disclose Poynt’s information in its response to Poynt’s demand letter and in its draft termination
10   agreement.
11          77.     Innowi misappropriated Poynt’s trade secrets by improperly using Poynt’s trade
12   secrets to develop and market a competing product and by disclosing Poynt’s trade secrets
13   without authorization.
14          78.     The misappropriated trade secrets relate to products and services used in, or
15   intended for use in, interstate or foreign commerce. Poynt’s products made with the benefit of the
16   trade secrets are sold in numerous states and countries. As the evidence is likely to show after a
17   reasonable opportunity for further investigation or discovery, Innowi plans to sell its product
18   developed with the benefit of Poynt’s trade secrets in several states and in foreign countries.
19          79.     The actions of Innowi constitute misappropriation of Poynt’s trade secrets under
20   18 U.S.C. § 1836, et seq.
21          80.     Because Innowi knew of Poynt’s ownership of trade secrets and nonetheless acted
22   in knowing disregard of those rights by making unauthorized use of Poynt’s trade secrets to
23   develop a competing product, Innowi’s acts of misappropriation were done willfully and
24   maliciously, thereby entitling Poynt to attorneys’ fees and exemplary damages to be proved at
25   trial pursuant to 18 U.S.C. §§ 1836(b)(3)(c)-(d).
26          81.     As a direct and proximate cause of Innowi’s misappropriation of Poynt’s trade
27   secrets, the evidence is likely to show after a reasonable opportunity for further investigation and
28   discovery that Innowi has been unjustly enriched at least by the amount(s) Innowi has received
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 1   for pre-orders, has obtained a substantial head start, and Poynt has sustained damages in an
 2   amount to be proven at trial. Poynt has also suffered irreparable harm as a result of Innowi’s
 3   activities and will continue to suffer irreparable injury that cannot be adequately remedied at law
 4   unless Innowi and all other persons acting in concert with it are enjoined from engaging in any
 5   further such acts of misappropriation. This irreparable harm includes loss of secrecy, the loss of
 6   market share, and the loss or impairment of business opportunities. Indeed, if Poynt’s actual and
 7   potential merchant customers elect to install Innowi’s product rather than Poynt’s, economic and
 8   time costs make it unlikely that a customer will replace its payment terminal infrastructure,
 9   leading to irreparable harm through the lasting deprivation to Poynt of valuable business
10   opportunities and market share. Because Poynt’s products are still new to the market, these lost
11   opportunities may further cause irreparable harm by limiting Poynt’s exposure in the industry and
12   thus stifling the momentum of the industry’s adoption of Poynt’s products and software platform.
13                                    IV.     PRAYER FOR RELIEF
14          82.      WHEREFORE, Poynt respectfully requests that the Court enter judgment against
15   Innowi as follows:
16                a. that Poynt be awarded compensatory damages for actual loss and unjust
17                   enrichment caused by the misappropriation of Poynt’s trade secret information,
18                   including by ordering Innowi to disgorge the full value of the head start it
19                   received;
20                b. that the Court award exemplary damages equal to two times the amount of
21                   compensatory damages awarded for trade secret misappropriation;
22                c. that the Court issue a preliminary and permanent injunction (i) prohibiting Innowi
23                   from using, accessing, disclosing or continuing to possess Poynt’s trade secret
24                   information and (ii) ordering the return of Poynt’s trade secret and confidential
25                   information and all intellectual property associated with and developed pursuant to
26                   the Development Agreement;
27                d. that the Court find Innowi liable for damages caused by the Innowi’s breach of the
28                   NDA;
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 1                    e. that the Court award Poynt damages and unjust enrichment caused by Innowi’s
 2                       breach of the Development Agreement;
 3                    f. that the Court order Innowi’s patent applications be assigned to Poynt as required
 4                       by the Development Agreement;
 5                    g. that the Court order an accounting for damages through judgment and post-
 6                       judgment until Innowi is permanently enjoined from further damaging activities;
 7                    h. that the Court award Poynt all damages caused by Innowi’s unlawful actions;
 8                    i. that the Court award Poynt its reasonable attorneys’ fees and costs;
 9                    j. that the Court award Poynt pre-judgment interest and post-judgment interest at the
10                       maximum rate allowed by law, including an award of prejudgment interest,
11                       pursuant to 25 U.S.C. § 284, from the date of harms to the day a damages
12                       judgment is entered, and a further award of post-judgment interest, pursuant to 28
13                       U.S.C. § 1961, continuing until such judgment is paid, at the maximum rate
14                       allowed by law; and
15                    k. that the Court grant Poynt all other relief to which it is entitled and such other
16                       additional relief as is just and proper.
17                                      V.      DEMAND FOR JURY TRIAL
18            Poynt hereby demands a trial by jury in this action.
19
     Dated: September 21, 2018                                  ORRICK, HERRINGTON & SUTCLIFFE LLP
20

21
                                                                By:           /s/ Clement Seth Roberts
22                                                                         CLEMENT SETH ROBERTS
                                                                                JACOB M. HEATH
23                                                                               WILL MELEHANI
                                                                               JOHANNA L. JACOB
24                                                                    Attorneys for Plaintiff Poynt Corporation
25

26

27
28
     4126-6508-0087                                                            COMPLAINT FOR DAMAGES AND
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          EXHIBIT A
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                     MUTUAL NON-DISCLOSURE AGREEMENT

        This Mutual Non-Disclosure Agreement (this "Agreemenf') is made as of the _20_ _ day
of _March___ , 2014_, between Poynt Co., a Delaware corporation, whose address is 260
Homer ave, Suite 201, Palo Alto, CA 94301, and _Whizz Systems, Inc.__· _, a
_CA_ _ _ _ _ _ _ (corporation or individual). whose address is 3240 Scott Blvd, Santa
Clara, CA 95054_____                                                  -

       The above named parties desire to begin discussions regarding a business opportunity of
mutual interest (the "Business Purpose"). In connection with such discussions, the partit~s
recognize that there is a need to disclose to each other certain confidential information to be used
only for the Business Purpose and to protect such confidential information from unauthorized use
and disclosure.

       In consideration of the other party' s disclosure of such confidential information, each party
agrees as follows:

        1.      For purposes of this Agreement, "Confidential l11formatio11" means any technical or
business information disclosed by one party to the other party that: (i) if disclosed in writing, is
marked "confidential" or "proprietary" at the time of such disclosure; (ii) if disclosed orally, is
identified as "confidential" or "proprietary" at the time of such disclosure, and is summarized in a
writing sent by the disclosing party to the receiving party within thirty (3Q) days after any such
disclosure; or (iii) under the circumstances, a person exercising reasonable business judgment
would understand to be confidential or proprietary.

         2.     Each party agrees: (i) to maintain the other party's Confidential Information in strict
confidence; (ii) not to disc1ose such Confidential Information to any third parties; and (iii) not to use
any such Confidential Information for any purpose except for the Business Purpose. Each party
may disclose the Confidential Information of the other party to its employees and consultants who
have a bona fide need to know such Confidential Information for the Business Purpose, but solely to
the extent necessary to pursue the Business Purpose and for no other purpose; provided that each
such employee and consultant first executes a written agreement (or is otherwise already bound by a
written agreement) that contains use and nondisclosure restrictions at least as protective of the other
party' s Confidential Information as those set forth in this Agreement. The provisions of this
Section 2 will not restrict a party from disclosing the other party's Confidential Information to the
extent required by any law or regulation; provided that the party required to make such a disclosure
uses reasonable efforts to give the other party reasonable advance notice of such required disclosure
in order to enable the other party to prevent or limit such disclosure.

       3.      The receiving party's obligations in Section 2 will not apply to the extent any
Confidential Information:

               (i)    is now or hereafter becomes generally known or available to the public.
through no act or omission on the part of the receiving party;

                (ii)   was known, without restriction as to use or disc1osure, by the receiving party
prior to receiving such information from the disclosing party;




                                                   1
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                (iii) is rightfully acquired by the receiving party from a third party who h.is the
right to disclose it and who provides it without restriction as to use or disclosure; or

               (iv)   is independently developed by the receiving party without access to any
Confidential Information of the disclosing party.

        4.     Upon: the disclosing party's request, the receiving party will promptly return to the
disclosing party ·all tangible items and embodiments containing or consisting of the disclosing
party's Confidential Information and all copies thereof (including electronic copies) and provide the
disclosfog party with a written officer's certificate certifying the receiving party's compliance with
the foregoing obligation.

        5.     All Confidential Information remains the sole and exclusive property of the
disclosing party. Each party acknowledges and agrees that nothing in this Agreement will be
construed as granting any rights to the receiving party, by license or otherwise, in or to any
Confidential Information of the disclosing party, or any patent, copyright or othe,r intellectual
property or proprietary rights of the disclosing party, except as specified in this Agreement.

     6.    ALL CONFIDENTIAL INFORMATION IS PROVIDED BY THE DISCLOSING
PARTY "AS IS."

        7.      Each party acknowledges that the unauthorized use or disclosure of the disclosing
party's Confidential Information would cause-the disclosing party to incur irreparable harm and
significant damages,. the degree of which may be difficult to ascertain. Accordingly, each party
agrees tbat the disclosing party will have the right to obtain immediate equitable relief to enjoin any
unauthorized use or disclosure of its Confidential Information, in addition to any other rights and
remedies that it may have at law or otherwise.

        8..    This Agreement will be construed, interpreted, and applied in accordance with the
internal laws of the State ofCali(olJlia (excluding its body oflaw controlling conflicts oflaw). This
Agreement is the complete and exclusive statement regarding the subject matter_of this Agreement
and supersedes all prior agreements, understandings and communications, oral or written, ·between
the parties regarding the subject matter of this Agreement. Neither party may assign this
Agreement, in whole or in part, without the other party's prior written consent, and any attempted
assignment without such consent will be void.

        9.      This Agreement will commence on the date first set forth above and will remain in
effe¢t for five (5) years from the date of the last disclosure of Confidential Information by either
party, at which time it will terminate;

                                   [SIGNATURE PAGE FOLLOWS)




                                                  2
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        IN WITNESS WHEREOF, the parties hereto have executed .this Mutual Non-
Disclosure Agreement by their duly authorized officers or representatives as of the date first set
forth above.                                                                      ·     ·    ·     ·



POYNTCO.:                                            COMPANY or INDIVIDUAL:

Signature:                                           Signature:
                 I

Name:           tZ J/e r:'r\O\h de1-                 Name:          Muhammad lrfan

Title:               Vf                              Title:         President




         [SIGNATURE PAGE TO POYNT CO. M .UTUAL NON-DISCLOSURE AGREEMENT]
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          EXHIBIT B
SOUGHT TO BE SEALED IN ITS ENTIRETY
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          EXHIBIT C
SOUGHT TO BE SEALED IN ITS ENTIRETY
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          EXHIBIT D
SOUGHT TO BE SEALED IN ITS ENTIRETY
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          EXHIBIT E
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                                                                                                                  SILICON VALLEY
                                                                                                                      ANN ARBOR
                                                                                                                          BEIJING

G!:>   G U N DE R SON           D ET TM ER
                                                                                                                          BOSTON
                                                                                                                     LOS ANGELES
                                                                                                                        NEW YORK
                                                                                                                       SAN DIEGO
                                                                                                                  SAN FRANCISCO




 July 20, 2016

 VIA EMAIL & FEDEX

 Innowi Inc.
 Attn: Zia Hasnain
 Chief Executive Officer
 3240 Scott Blvd.
 Santa Clara, CA 95054

 RE: Your Continuing Legal Obligations to Poynt Co.

 Dear Mr. Hasnain:

 Our firm represents Poynt Co. (the "Company"). We are writing (i) to remind you of your continuing
 legal obligations to the Company, (ii) to warn you of the consequences if you violate any such
 obligations, (iii) to demand that you not use or disclose any of the Company's confidential information or
 derivatives thereof, and (iv) to demand that you cease using or disclosing the Company's name,
 trademark, and/or any reference to your relationship with the Company. Violations of these obligations or
 improper use or disclosure of the Company's confidential information can expose you, as well as anyone
 who induces or aides and abets you, to liability pursuant to trademark and copyright infringement claims
 as well as various state and federal laws of the United States, including without limitation the California
 Uniform Trade Secrets Act and California Unfair Competition Law.

                                                        The Agreement

 You signed a confidential business terms sheet agreement, dated June 2, 2014 (the "Agreement), which
 obligates you to (i) keep the Agreement confidential and (ii) assign the Company "all IP associated with
 and derived as a result of this project". During your performance under the Agreement, you were given
 access to the Company's confidential information, which included (without limitation) information about
 the Company's technology, its business plans, as well as information and materials based on and derived
 from the Company's confidential information. The Company has reason to believe that you may be
 misusing such confidential information.

 The value of this confidential information is derived from it not being known outside of the Company and
 its service providers. As such, maintaining the confidentiality of this confidential information is important
 to the Company. As part of the Company's continuing efforts to protect its confidential information, this
 letter is meant to put you on notice that you may not use or disclose any of the Company's confidential
 information, or any information and materials based on and derived from the Company's confidential
 information, in any of your current or future endeavors.

 In addition to the obligations you owe the Company under the Agreement, any confidential, proprietary,
 and trade secret information of the Company (e.g., information developed pursuant to the Agreement) is
 the property of the Company and cannot legally be used or disclosed by you to the competitive
 disadvantage of the Company.

                        GUNDERSON DETTMER STOUGH VILLENEUVE FRANKLIN & HACHIGIAN, LLP
                     1200 SEAPORT BOULEVARD, REDWOOD CITY, CA 94063 / PHONE: 650.321 .2400 / FAX: 650.321 .2800
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Zia Hasnain
July 20, 2016
Page 2

We expect that you will abide by the law and your obligations to the Company and, if you are currently in
violation of such obligations, immediately cease any such activities. The Company intends to diligently
monitor your compliance and, should it learn that you are in violation of your obligations, it reserves the
right to take any and all measures (at law and in equity) against your company necessary to protect the
Company's rights and itself from economic harm, including the right to recover the full amount of its
damages resulting from your actions.

                                        Company's Name and Trademark

Also, it has come to the Company's attention that: (i) you are referencing the Company's name,
trademarks, and your relationship to the Company in your business pursuits; and (ii) you may be
interfering with the Company's business relations by making unsubstantiated claims about the
Company's products and services. As such, the Company demands that you immediately cease and desist
any use of the Company's name, trademarks, and/or your relationship with the Company.

                                             Written Corifirmation

No later than July 25th, 2016, the Company requires that you provide it with written confirmation of: (i)
your understanding of these matters; (ii) you having not used or disclosed the Company's confidential
information for any purpose; (iii) your willingness and intent to comply with the Agreement and
applicable laws; and (iv) your assurance that you will cease using the Company's name, trademarks, or
any reference to your relationship with the Company and will cease making unsubstantiated claims about
the Company's products and services.

You may contact me directly by return mail, by email at jbirbach@gunder.com, or by phone at 1-650-
463-5492. This correspondence should not be construed as a waiver of rights, an offer of settlement or
reliance on any specific facts or legal theories. The Company reserves all of its rights and remedies under
applicable law.


Sincerely,


Je~                -,o:;::---\-"'-A-A



Cc: Osama Bedier
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          EXHIBIT F
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               2600 El Camino Real, Suite 415 | Palo Alto, CA 94306 | tel 650.843.0988 | fax 650.618.0488



August 8, 2016
                                                                                          Christopher L. Tinen
                                                                                                 650.843.0988
                                                                                 christopher@inventuslaw.com

VIA EMAIL ONLY

Jesse Birbach
Gunderson Dettmer
jbirbach@gunder.com

Dear Mr. Birbach:

As you know, our firm is legal counsel to Innowi Inc. (“Innowi”). Please let this
correspondence serve as a response to your letter of July 20, 2016 sent on behalf of
Poynt Co. (“Poynt”).

On behalf of Innowi, we can confirm the following:

    x   Innowi is not using or disclosing any of Poynt’s confidential information or
        any materials based on or derived from Poynt’s confidential information.

    x   Innowi is not using or disclosing any confidential, proprietary, or trade secret
        information of Poynt developed under the Agreement.

    x   Innowi will cease and desist the use or reference, if any, of the Company’s
        name, trademarks or relationship with Poynt in connection with its business.

    x   Innowi denies interfering with Poynt’s business relations

If you have any further questions, please do not hesitate to contact me directly.

Nothing in this correspondence shall be construed as a waiver of rights, an offer of
settlement or reliance on any specific facts or legal theories. Innowi reserves all of its
rights and remedies available under applicable law.

                                                                     Very truly yours,




                                                                     Christopher L. Tinen
                                                                     Inventus Law, Inc.




www.inventuslaw.com
